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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,                     )
                                               )
        Plaintiff,                             )
                                               )
        v.                                     )       99-cr-40026-JPG
                                               )
 WILLIAM L. CURTIS,                            )
                                               )
        Defendant.                             )

                                 MEMORANDUM AND ORDER

        This matter comes before the Court on defendant William L. Curtis’s pro se Motion for

 Retroactive Application of Sentencing Guidelines to Crack Cocaine Offense (Doc. 144).

        The Court granted Curtis’s Motion to Appoint Counsel on January 29, 2008, so he is now

 represented by the Federal Public Defender. “The right to representation by counsel and self-

 representation are mutually exclusive.” Cain v. Peters, 972 F.2d 748, 750 (7th Cir.1992). So-

 called “hybrid representation” confuses and extends matters at trial and in other proceedings and,

 therefore, it is forbidden. See United States v. Oreye, 263 F.3d 669, 672-73 (7th Cir.2001).

        In this case, the defendant has requested and been granted representation by the Federal

 Public Defender. The defendant is free to consult with his attorney in order to ensure that the

 Court is fully informed as to the specifics of his case and in order to ensure that the appropriate

 motions are filed. However, the Court will strike pro se motions by the defendant so long as he

 is represented by counsel. Therefore, the Court ORDERS the defendant’s pro se motion (Doc.

 144) be STRICKEN from the record.

 IT IS SO ORDERED.
 Dated: February 19, 2008

                                                       s/ J. Phil Gilbert
                                                       J. PHIL GILBERT
                                                       U.S. District Judge
